                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA



IN RE:          BOUBACAR TOURE            :      Bankruptcy No. 23-12843
                                          :
                                          :
                DEBTOR                    :      Chapter 13



 PRAECIPE TO WITHDRAW DEBTOR’S ANSWER TO MOVANT’S MOTION FOR
             RELIEF WHICH WAS FILED ON JANUARY 2, 2024


TO THE CLERK:

         Kindly docket as follows:

       Please withdraw Debtor’s Answer to Movant’s Motion for Relief which was filed on
January 2, 2024 (docket #25)




                                          Respectfully submitted,


                                          _/Zachary Perlick/
                                          ZACHARY PERLICK, ESQUIRE
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